                   Case 4:21-cv-03075 Document 153-4 Filed on 06/20/23 in TXSD Page 1 of 5
                                                                                                                                                            EXHIBIT
                                                                                                                                                                   12
                                                                                                                                                      Trojan Battery Company (Bob Pigott)
                                                                                                                                                               10/31/2022
                       UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)                                                                                   Steno: Barbara Carey, RPR




                                                                                                                                                      Commissioner for Trademarks
                                                                                                                                                                   www.uspto.gov


           OFFICIAL USPTO NOTICE OF PUBLICATION UNDER 12(a)

U.S. Application Serial No. 90596346
Mark: TROJAN-EV
International Class(es): 012
Owner: Trojan EV, LLC
Docket/Reference No.

Issue Date: November 3, 2021



Your mark is scheduled to publish in the Trademark Official Gazette (TMOG) on November 23, 2021.

Your mark appears to be entitled to register on the Principal Register, subject to any claims of concurrent use.

What happens when your mark publishes. Within 30 days of the publication date, any party who believes it will be damaged by the registration of the mark may file a notice
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             Email Address(es):

             nellfed@hotmail.com
             tmapp@legalzoom.com




                                                                    Trojan EV & GCC

                                                                         DTX-6
                                                                                                                                      TROJAN EV000106
                                                                        No 4:21-cv-03075
                    Case 4:21-cv-03075 Document 153-4 Filed on 06/20/23 in TXSD Page 2 of 5



From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Wednesday, November 3, 2021 04:35 AM
To:                        nellfed@hotmail.com
Cc:                        tmapp@legalzoom.com
Subject:                   Official USPTO Notification of Notice of Publication: U.S. Trademark SN 90596346: TROJAN-EV (Stylized/Design)

                                                                 NOTIFICATION OF "NOTICE OF PUBLICATION"

Your trademark application (U.S. Serial No. 90596346) is scheduled to publish in the Official Gazette on Nov 23, 2021. To preview the Notice of Publication, go to the
Trademark Status & Document Retrieval (TSDR) database, accessible at https://tsdr.uspto.gov/search.action?sn=90596346. If you have difficulty accessing the Notice of
Publication, contact the Trademark Assistance Center (TAC) by e-mail at TrademarkAssistanceCenter@uspto.gov or by telephone at 800-786-9199.

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                                                                                                                                          TROJAN EV000107
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                                                 Trademark Snap Shot Publication Stylesheet
                                                    (Table presents the data on Publication Approval)


                                                                   OVERVIEW

SERIAL NUMBER                                     90596346                   FILING DATE                                  03/23/2021

REG NUMBER                                         0000000                   REG DATE                                        N/A

REGISTER                                         PRINCIPAL                   MARK TYPE                                   TRADEMARK

INTL REG #                                               N/A                 INTL REG DATE                                   N/A

TM ATTORNEY                                 RAJA, AMER YASIN                 L.O. ASSIGNED                              N30-NOT FOUND



                                                               PUB INFORMATION

RUN DATE                            10/19/2021

PUB DATE                            11/23/2021

STATUS                              681-PUBLICATION/ISSUE REVIEW COMPLETE

STATUS DATE                         10/18/2021

LITERAL MARK ELEMENT                TROJAN-EV



DATE ABANDONED                                           N/A                 DATE CANCELLED                                  N/A

SECTION 2F                                               NO                  SECTION 2F IN PART                              NO

SECTION 8                                                NO                  SECTION 8 IN PART                               NO

SECTION 15                                               NO                  REPUB 12C                                       N/A

RENEWAL FILED                                            NO                  RENEWAL DATE                                    N/A

DATE AMEND REG                                           N/A



                                                                  FILING BASIS

                 FILED BASIS                                       CURRENT BASIS                                 AMENDED BASIS

1 (a)                          YES               1 (a)                                  YES             1 (a)                      NO

1 (b)                          NO                1 (b)                                   NO             1 (b)                      NO

44D                            NO                44D                                     NO             44D                        NO

44E                            NO                44E                                     NO             44E                        NO

66A                            NO                66A                                     NO

NO BASIS                       NO                NO BASIS                                NO



                                                                   MARK DATA

STANDARD CHARACTER MARK                                                      NO

LITERAL MARK ELEMENT                                                         TROJAN-EV

MARK DRAWING CODE                                                            3-AN ILLUSTRATION DRAWING WHICH INCLUDES
                                                                             WORD(S)/LETTER(S)/NUMBER(S)

COLOR DRAWING FLAG                                                           NO



                                                    CURRENT OWNER INFORMATION




                                                                                                                TROJAN EV000108
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PARTY TYPE                                                      10-ORIGINAL APPLICANT

NAME                                                            Trojan EV, LLC

ADDRESS                                                         Ste 2253
                                                                1309 Coffeen Ave
                                                                Sheridan, WY 82801

ENTITY                                                          16-LTD LIAB CO

CITIZENSHIP                                                     Wyoming



                                                 GOODS AND SERVICES

INTERNATIONAL CLASS                                             012

       DESCRIPTION TEXT                                         Motorized golf carts




                                      GOODS AND SERVICES CLASSIFICATION

INTERNATIONAL     012        FIRST USE DATE   10/01/2020        FIRST USE IN           10/01/2020          CLASS STATUS          6-ACTIVE
CLASS                                                           COMMERCE
                                                                DATE



                                   MISCELLANEOUS INFORMATION/STATEMENTS

CHANGE IN REGISTRATION                                          NO

DESCRIPTION OF MARK                                             The mark consists of a side view of a warrior spartan helmet, facing towards the
                                                                right, with the wording "TROJAN-EV" to the right of the helmet. The wording
                                                                "TROJAN-EV" is underlined with a spear.



                                                PROSECUTION HISTORY

DATE                      ENT CD     ENT TYPE     DESCRIPTION                                                                           ENT NUM

10/18/2021                CNSA          O         APPROVED FOR PUB - PRINCIPAL REGISTER                                                    009

10/14/2021                XAEC           I        EXAMINER'S AMENDMENT ENTERED                                                             008

10/14/2021                GNEN          O         NOTIFICATION OF EXAMINERS AMENDMENT E-MAILED                                             007

10/14/2021                GNEA          F         EXAMINERS AMENDMENT E-MAILED                                                             006

10/14/2021                CNEA          R         EXAMINERS AMENDMENT -WRITTEN                                                             005

10/07/2021                DOCK          D         ASSIGNED TO EXAMINER                                                                     004

06/29/2021                MDSC          E         NOTICE OF DESIGN SEARCH CODE E-MAILED                                                    003

06/26/2021                NWOS           I        NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM                                     002

03/26/2021                NWAP           I        NEW APPLICATION ENTERED IN TRAM                                                          001



                                   CURRENT CORRESPONDENCE INFORMATION

ATTORNEY                                                        NONE

CORRESPONDENCE ADDRESS                                          TROJAN EV, LLC
                                                                1309 COFFEEN AVE
                                                                STE 2253
                                                                SHERIDAN, WY 82801

DOMESTIC REPRESENTATIVE                                         NONE




                                                                                                             TROJAN EV000109
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                                                           TROJAN EV000110
